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8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    2:04-cr-0205-GEB
12                   Plaintiff,        )
                                       )
13             v.                      )    NOTICE RE:
                                       )    REVISED VERDICT FORM
14   THA BUN HENG; CHHOM MAO; and      )
     CLEVIE EARL BUCKLEY, JR.,         )
15                                     )
                     Defendants.       )
16                                     )
                                       )
17
18             Attached is a revised verdict form that reflects the correct
19   spelling of Defendant Mao’s first name.
20   DATED: November 30, 2006
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                                                GARLAND E. BURRELL, JR.
23                                              United States District Judge
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